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11 Class
12
13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14                             WESTERN DIVISION
15
16   In re Mattel, Inc. Securities Litigation   Case No. 2:19-cv-10860-MCS (PLAx)
17                                              DECLARATION OF JOHN RIZIO-
                                                HAMILTON IN SUPPORT OF
18                                              PLAINTIFFS’ MOTION TO
                                                COMPEL DISCOVERY FROM
19                                              PRICEWATERHOUSECOOPERS
                                                LLP
20
                                                Date: August 11, 2021
21                                              Time: 10:00 a.m.
                                                Ctrm: 780, 7th Floor
22
                                                Discovery Cutoff: December 3, 2021
23                                              Pretrial Conf.: Not Set
                                                Trial Date: Not Set
24
                                                The Honorable Paul L. Abrams
25
                                                DISCOVERY MATTER
26
27
28

                                                           DECLARATION OF JOHN RIZIO-HAMILTON
                                                                 CASE NO. 19-CV-10860-MCS (PLAx)
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 1        I, JOHN RIZIO-HAMILTON, declare as follows:
 2        1.     I am an attorney licensed to practice law in the State of New York. I am
 3 a partner of the law firm of Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”).
 4 BLB&G serves as counsel for Lead Plaintiffs DeKalb County Employees Retirement
 5 Plan and New Orleans Employees’ Retirement System (together, “Plaintiffs”), and
 6 Lead Counsel in the above-captioned action (the “Action”). I have personal knowledge
 7 of the following facts and, if called as a witness, could and would testify competently
 8 to them.
 9        2.     Attached as Exhibit 1 is a true and correct copy of the Court’s Order
10 Setting Dates, dated March 12, 2021.
11        3.     Attached as Exhibit 2 is a true and correct copy of Plaintiffs’ First
12 Request for the Production of Documents Directed to PricewaterhouseCoopers and
13 Joshua Abrahams, dated February 12, 2021.
14        4.     Attached as Exhibit 3 is a true and correct copy of Defendant
15 PricewaterhouseCoopers LLP’s Responses and Objections to Plaintiffs’ First Request
16 for the Production of Documents, dated April 14, 2021.
17        5.     Attached as Exhibit 4 is a true and correct copy of the Amended Class
18 Action Complaint for Violations of the Federal Securities Laws, dated May 29, 2020.
19        6.     Attached as Exhibit 5 is a true and correct copy of a document produced
20 in    this   Action   with   the   bates   stamp,    PWC_00271_SEC_00000011               –
21 PWC_00271_SEC_00000013.            [Filed under Seal pursuant to the Stipulated
22 Protective Order entered by the Court in this action on April 30, 2021 (ECF No.
23 89) (“Protective Order”) and Local Rule 79-5.]
24        7.     Attached as Exhibit 6 is a true and correct copy of the First Supplemental
25 Responses and Objections of Defendants Mattel, Inc., Margaret Georgiadis, Joseph
26 Euteneuer, and Kevin Farr to Plaintiffs’ First Set of Interrogatories Directed to All
27 Defendants, dated June 3, 2021.
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                                                          DECLARATION OF JOHN RIZIO-HAMILTON
                                                                CASE NO. 19-CV-10860-MCS (PLAx)
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 1         8.    Attached as Exhibit 7 is a true and correct copy of a document produced
 2 in   this    Action   with   the   bates   stamp,    PWC_00271_SEC_00132062               –
 3 PWC_00271_SEC_00132064. [Filed under Seal pursuant to the Protective Order
 4 and Local Rule 79-5.]
 5         9.    Attached as Exhibit 8 is a true and correct copy of the Order Denying
 6 Motions to Dismiss and Granting Leave to File Surreply [39-41, 67], dated January 26,
 7 2021.
 8         I declare under penalty of perjury under the laws of the United States that the
 9 foregoing is true and correct.
10         Executed on July 16, 2021, in New York, NY.
11                                                     /s/ John Rizio-Hamilton
                                                        John Rizio-Hamilton
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                                                          DECLARATION OF JOHN RIZIO-HAMILTON
                                                                CASE NO. 19-CV-10860-MCS (PLAx)
